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               IN THE UNITED STATES DISTRICT COURT FOR THE

                         DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:07CR412
                              )
          v.                  )
                              )
CHRISTIAN SANTANA-RUBIO,      )                      ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s motion

to restrict (Filing No. 55) and on his motion to continue trial

(Filing No. 56).   The Court notes defendant has filed a waiver of

speedy trial (Filing No. 52).      Accordingly,

          IT IS ORDERED:

          1) The motion to restrict is granted.

          2) The motion to continue trial is granted; trial of

this matter is rescheduled for:

                Tuesday, June 2, 2009, at 9 a.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.        Due to the schedule of

counsel and the Court, and to give the parties time to pursue

plea negotiations, the ends of justice will be served by

continuing this case and outweigh the interests of the public and

the defendant in a speedy trial.       The additional time between

March 16, 2009, and June 2, 2009, shall be deemed excludable
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time in any computation of time under the requirement of the

Speedy Trial Act.   18 U.S.C. § 3161(h)(8)(A) & (B).

          DATED this 5th day of March, 2009.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ______________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court




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